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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

INFINITY COMPUTER PRODUCTS, INC.,                )
                                                 )
               Plaintiff,                        )
                                                 )
       v.                                        ) C.A. No. 18-463-LPS-CJB
                                                 )
OKI DATA AMERICAS, INC.,                         )
                                                 )
               Defendant.                        )


                DEFENDANT OKI DATA AMERICAS, INC’S MOTION
            FOR LEAVE TO FILE A MOTION FOR SUMMARY JUDGMENT
       After eight years of litigation, plaintiff Infinity Computer Products, Inc. (“Infinity”)

accused, inter alia, two prior art Oki Data Americas, Inc. (“ODA”) products of infringing every

asserted claim of each asserted patent. Evans Cooling Sys., Inc. v. GMC, 125 F.3d 1448, 1451-

52 (Fed. Cir. 1997) (affirming entry of summary judgment, and holding that an accusation of

infringement is sufficient to meet a defendant’s burden to show anticipation by clear and

convincing evidence). Infinity has twice confirmed its accusation.

       Eighteen months remain until the parties are permitted to file case dispositive motions.

(Scheduling Order, ¶ 17 (D.I. 107)). Good cause thus exists to modify the Scheduling Order to

permit ODA to file a case dispositive motion now. This motion, if granted, will end the

litigation. Absent relief, there is little prospect that this issue will be decided for nearly two

years, long after the Court entertains and decides Markman, and long after the parties expend

tremendous efforts on discovery on the 100-plus accused products, take up to the 55 hours of fact

depositions permitted by the Scheduling Order, prepare expert reports and depose expert

witnesses, prepare additional case dispositive motions, and begin trial preparations.
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       ODA moves for leave to file a summary judgment motion regarding anticipation of all

asserted claims by these two prior art products based on Infinity’s twice-confirmed accusation of

infringement against them. In support of its motion, ODA states as follows:

                                SUMMARY OF ARGUMENT

       1.      Good cause exists to modify the Scheduling Order.           The proposed motion

promotes efficient case management by resolving the action without burdening the Court and the

parties with claim construction, fact discovery, expert discovery, and trial. It is straightforward

and brief. All relevant facts are established, no claim construction is required, ongoing discovery

will have no impact on the elements of the defense, and it will resolve all asserted claims.

Addressing the motion now does not increase the burden on the parties or the Court in any way.

                                    UNDISPUTED FACTS

       2.      The present dispute has been pending for more than eight years, but the February

28, 2020 summary judgment deadline remains distant, and the parties and the Court will have to

expend considerable additional effort to reach it. (D.I. 107, ¶ 17). This burden is significant.

See, e.g, American Intellectual Property Law Association, 2017 Report of the Economic Survey,

at I-118-123 (2017) (Exh. A) (patent litigation costs through discovery, motions, and claim

construction can reach millions of dollars, depending on the amount of damages claimed).

       3.      Infinity has explicitly confirmed—twice—that two ODA prior art products are

“accused products,” and has confirmed that they are accused along with the associated computer

hardware and software necessary to practice the claims. Infinity’s August 20, 2018 infringement

contentions “accuse[] [ODA] of infringement by making, using, selling, offering for sale and

import[ing]” the “Oki Data DOC-IT3000” and “Oki Data DOC-IT4000” products, as well as

their “associated hardware, computer hardware, internal semiconductors, software and data, and

processes and methods related thereto” (collectively, the “Oki prior art products”). (Exh. B


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(excerpts from August 20, 2018 infringement contentions)). Based on its investigations over the

past eight years, Infinity alleged the prior art DOC-IT products were “substantially similar” to

the other accused products. (Id.). Infinity later confirmed the prior art DOC-IT products—along

with over 100 other ODA products—were “accused.” (Exh. C (Infinity’s August 15, 2018 letter

to J. Shaw); see also Exh. D (ODA’s response)).

        4.      Infinity claims that its four asserted patents are entitled to a priority date of April

11, 1994, the filing date of the earliest related application. 1

        5.      ODA announced the availability of the prior art products on September 28, 1992.

(Exh. E). The New York Times covered the release of those products the following day. New

Product from Okidata, N.Y. Times, Sept. 29, 1992, at D5 (Exh. F). Shortly thereafter, PC

Magazine published an article describing the author’s “test[ing]” of the DOC-IT 4000, providing

screen shots of the product in use. Bruce Brown, Print, Fax, Copy, and Scan with Okidata’s All-

In-One DOC-IT, PC Magazine, Feb. 23, 1993, at 37, 39 (Exh. G) (see also Exh. H (excerpts

from product manuals showing 1992 and 1993 copyright dates)). There is no basis for contesting

the importation, public availability, offer for sale, use, or sale of the prior art products more than

one year before the earliest possible priority date of the patents in suit.

                                            ARGUMENT

        6.      A scheduling order may only be modified upon a showing of good cause. Fed. R.

Civ. P. 16(b)(4). Good cause exists because permitting an early summary judgment motion will

promote the efficient and complete resolution of this action, and because the motion is well

supported with undisputed facts. If granted, the motion will resolve the entire case (and the ten



1
    ODA disputes that the patents-in-suit are entitled to claim priority to that date, but that
dispute does not impact the motion.


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Infinity cases pending in other districts), avoiding the need for claim construction, document

production, fact depositions, expert reports, expert depositions, Daubert motions, or the

resolution of the pending intervening rights motion (D.I. 112). Even if denied, there is no loss of

efficiency, because the parties will have fewer pages to brief later summary judgment motions.

       7.      The proposed motion is a straightforward application of Federal Circuit precedent

to undisputed facts, without any need for claim construction. The Federal Circuit held in Evans

Cooling that an accusation of infringement against a product is sufficient to meet the defendant’s

burden of proof of showing by clear and convincing evidence that that product anticipates, if the

defendant can show that the product was sold before the priority date of the invention. 125 F.3d

at 1451-52.    It confirmed this holding in Vanmoor v. Wal-Mart Stores, Inc., stating that

“[a]lthough [defendants] bore the burden of proving that the cartridges that were the subject of

the pre-critical date sales anticipated[,] that burden was satisfied by [plaintiff’s] allegation that

the accused cartridges infringe . . . .” 201 F.3d 1363, 1366 (Fed. Cir. 2000); see also Bristol-

Myers Squibb Co. v. Ben Venue Labs., Inc., 246 F.3d 1368, 1378 (Fed. Cir. 2001) (“it is

axiomatic that that which would literally infringe if later anticipates if earlier”). Here, there is no

dispute that Infinity has accused the products and that they are “described in a printed

publication in this or a foreign country or in public use or on sale in this country, more than one

year prior to the date of the [earliest alleged] application for patent in the United States.” 35

U.S.C. § 102(b) (pre-AIA).




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       WHEREFORE, ODA respectfully requests that the Court grant ODA leave to file a

summary judgment motion regarding anticipation by accused prior art products.

                                                  Respectfully submitted,

                                                  SHAW KELLER LLP


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